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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 SANOFI-AVENTIS U.S., LLC,

             Plaintiff,
       v.                                            Civil Action No. 3:21-cv-634
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,                  Motion Date: March 19, 2021
                                                     Oral argument requested
             Defendants.

                 PLAINTIFF’S REPLY IN SUPPORT OF
               MOTION FOR PRELIMINARY INJUNCTION
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                                 INTRODUCTION
       The government is eager to smear Sanofi in this case—accusing Sanofi of

 halting the shipment of covered drugs to contract pharmacies in a “brazen” attempt

 to upend the 340B Program. But Sanofi has done no such thing. Sanofi still ships

 340B-priced drugs to contract pharmacies, so long as covered entities provide

 minimal, anonymized claims data (that already goes to insurers). Contrary to what the

 government says, this is not remotely “onerous”—and even the government does not

 dispute that Sanofi’s program can stop the difficult-to-detect problem of duplicate

 discounting, which Section 340B expressly prohibits (yet HHS has done little about).

       If anyone has disrupted the 340B Program here, it is the government. For a

 decade, HHS flouted Congress’s mandate to promulgate ADR procedures. During

 that time, HHS did nothing to address the abuse of the 340B Program that has

 resulted from the proliferation of contract pharmacies, which are sometimes

 thousands of miles away from the covered entity they purport to serve. HHS then

 rushed to finalize the ADR Rule at the end of the Trump Administration in the face

 of political and litigation pressure. And now, before this Court, the government’s

 invective confirms Sanofi’s well-grounded fear that the ADR Rule prescribes a faux

 judicial process designed to punish drug manufacturers.

       All that is before this Court now is the constitutionality of the ADR Rule—and

 the government’s opposition confirms that the ADR Rule violates Article II and

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 Article III. By insisting otherwise, the government paints the ADR panelists as a

 toothless band of junior officials subject to the Secretary’s careful oversight. But that

 is not the rule that HHS wrote. ADR panelists impermissibly exercise the authority of

 principal officers under Article II, because they issue final agency decisions without

 supervision or review and are not removable at will. And ADR panelists exercise

 powers reserved to federal courts under Article III because they issue final judgments,

 including for money damages and injunctive relief, in disputes over private, common-

 law rights. Because these constitutional violations cause Sanofi irreparable harm, the

 ADR Rule should be enjoined.

                                      ARGUMENT
       The Court should grant Sanofi’s motion because: (1) Sanofi’s constitutional

 claims are likely to succeed on the merits; (2) Sanofi will suffer irreparable harm from

 an unconstitutional ADR proceeding; and (3) the equities favor an injunction.

 I.    Sanofi Is Likely to Succeed on the Merits.
       A.     The ADR Rule Violates Article II of the Constitution.
       Sanofi is likely to succeed on its claim that the ADR Rule violates Article II.

 Under the ADR Rule, panelists make significant final decisions for the Executive

 Branch, but they are subject neither to a superior officer’s substantive direction and

 correction nor to the threat of removal at will. These two facts distinguish this case

 from each of the government’s cases and compel the conclusion that ADR panelists


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 are principal officers under the Appointments Clause who must therefore be

 presidentially appointed and Senate-confirmed.

              1.     The ADR Panelists Make Significant Final Decisions.
       As an initial matter, the ADR Rule plainly empowers panelists to make

 significant final decisions for the Executive Branch. Under Section 340B and the

 ADR Rule, ADR panelists are authorized to “render a final decision on behalf of the

 United States”—the hallmark of principal-officer status. Edmond v. United States, 520

 U.S. 651, 665 (1997). The government does not and could not contest that ADR

 panelists’ decisions speak for the Executive Branch as “final agency decision[s]” that

 are “binding on the parties” and “precedential” within HHS, including for the

 Secretary himself. 42 U.S.C. § 256b(d)(3)(C); 42 C.F.R. § 10.24(d); 85 Fed. Reg.

 80,632, 80,641, 80,646 (Dec. 14, 2020). Nor does the government dispute that the

 Secretary delegated “wide” and “significant” “discretion” and “latitude” to ADR

 panelists, 85 Fed Reg. at 80,635–36, 80,640, including the power to decide “all issues

 underlying any claim or defense,” 85 Fed Reg. at 80,636. “[T]he nature, scope, and

 duration” of the ADR panelists’ sweeping and continuing authority confirms that they

 are principal officers—and, in turn, not properly appointed under Article II. Seila Law

 LLC v. CFPB, 140 S. Ct. 2183, 2199 n.3 (2020) (quoting Edmond, 520 U.S. at 661,

 663); PI Mem. 20–21.

       Notwithstanding its concession that ADR panelists make significant final

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 decisions, the government responds that the panelists are not principal officers

 because they are subject to supervision and removable at will. Both points are wrong.

              2.     The ADR Panelists Are Not Subject to Supervision.
       ADR panelists make final decisions for the Executive Branch without any

 review by superior officers. HHS explicitly rejected any internal appeals process when

 enacting the ADR Rule. See 85 Fed. Reg. at 80,641. And the ADR Rule states that

 panel decisions can only be “invalidated by an order of a court of competent

 jurisdiction.” 42 C.F.R. § 10.24(d).

       This critical feature of the ADR Rule distinguishes this case from Edmond,

 which the government repeatedly trumpets. In Edmond, the Supreme Court held that

 Coast Guard judges were inferior officers precisely because their decisions were

 subject to review by superior officers. See 520 U.S. at 665. And Edmond makes

 plain—in a point the government buries in a footnote, see Opp. 15 n.5—that

 supervision of an inferior officer is “not complete” without review by a superior

 Executive Branch officer. 520 U.S. at 664. Indeed, the Edmond Court emphasized

 how “significant” it was “that the judges [at issue] have no power to render a final

 decision on behalf of the United States unless permitted to do so by other Executive

 officers.” Id. at 665. Not so here. The ADR panelists’ decisions are “final agency

 action” from the moment of issuance, with no Executive Branch review whatsoever.

       The government’s attempts to avoid this straightforward conclusion under

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 Edmond fall flat. Many courts, including the Supreme Court, have confirmed after

 Edmond—including in cases the government invokes—that Executive Branch review

 is critical to inferior officer status. In Free Enterprise Fund v. PCAOB, the Supreme

 Court held that board members were inferior officers because the Executive Branch’s

 “oversight authority” included the power to “approv[e] and alter[]” their decisions.

 561 U.S. 477, 486, 510 (2010). In Association of American Railroads v. Department of

 Transportation, the D.C. Circuit held that Surface Transportation Board arbitrators

 were principal officers because the relevant statute did not “provide any procedure by

 which the arbitrator’s decision [was] reviewable by the STB.” 821 F.3d 19, 39 (D.C.

 Cir. 2016); see Opp. 20 n.6. And in Intercollegiate Broadcasting System, Inc. v. Copyright

 Royalty Board, the D.C. Circuit held that regulations made copyright royalty judges

 “principal officers” because, “unlike the judges in Edmond,” their determinations were

 “final for the executive branch.” 684 F.3d 1332, 1340 (D.C. Cir. 2012). Most

 recently, in Fleming v. Department of Agriculture, see Opp. 17, the D.C. Circuit treated

 ALJs as inferior officers because the Secretary of Agriculture could “step in and act as

 [a] final appeals officer in any case.” No. 17-1246, 2021 WL 560743, at *8 (D.C. Cir.

 Feb. 16, 2021).

        None of these limitations apply to the ADR panelists. No Executive official

 can step in and take over their role in a particular case (unlike in Fleming). No

 Executive official can “alter” their decisions (unlike in Free Enterprise Fund). Their

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 decisions are not “reviewable” within the agency (as in Association of American

 Railroads). Instead, as in Intercollegiate Broadcasting, the ADR panelists’ decisions are

 “final for the executive branch,” and the panelists thus are “principal officers.” 684

 F.3d at 1340. Indeed, in Intercollegiate Broadcasting, the D.C. Circuit so concluded even

 though the Register of Copyrights could “review[] and correct[] any legal errors” in

 the judges’ determinations—review unavailable under the ADR Rule. Id. at 1338–39.

        Nor does any officer supervise or direct the ADR panelists’ adjudication of

 ADR claims. ADR panels instead “determine, in [their] own discretion, the most

 efficient and practical form of the ADR proceeding.” 42 C.F.R. § 10.23(a)–(b). And

 the ADR Rule does not direct the substance of the panels’ decisions. See Intercollegiate

 Broad., 684 F.3d at 1388 (finding Article II violation when a supervising officer had no

 “room to play an influential role in the CRJs’ substantive decisions”). Indeed, under

 Section 340B, the Secretary lacks authority to promulgate substantive rules governing

 the ADR process. See Pharm. Rsch. & Mfrs. of Am. v. HHS, 43 F. Supp. 3d 28, 42–45

 (D.D.C. 2014). The ADR panelists are thus singularly responsible for the substance

 of their decisions.

        This lack of supervision sets this case apart from Pennsylvania v. HHS, 80 F.3d

 796 (3d Cir. 1996), which the government invokes. See Opp. 16. There, the officers’

 substantive authority (to review funding disallowances under the Child Support

 Enforcement Act) was “strictly limited by the statute and implementing regulations.”

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 80 F.3d at 804 (citing 45 C.F.R. §§ 16.14, 205.40–205.43). Those regulations, since

 repealed, prescribed “the rules and procedures for calculating [relevant] error rates

 and for disallowing” federal payments, 45 C.F.R. § 205.43(a) (1995); procedures for

 reviewing cases, id. § 205.42(c); and substantive direction, including on the types of

 payments that would count as errors, id. § 205.42(d). The regulations also expressly

 required the officers to adopt certain decisions made by a separate HHS panel or by

 the Secretary. Id. § 205.43(g)(1).1 With the officials’ hands so tied, the Third Circuit

 held that they were inferior officers. To instead read Pennsylvania as the government

 does—to permit inferior officers to take final Executive Branch action even absent

 these supervisory controls or at-will removal, see Opp. 18–19—would run contrary to

 the Supreme Court’s subsequent decisions in Edmond and Free Enterprise Fund, as well

 as the D.C. Circuit’s decisions described above.

              3.     The ADR Panelists Are Not Removable at Will.
       The ADR Rule also provides that “individuals serving on a 340B ADR Panel

 may be removed for cause.” 85 Fed. Reg. at 80,634. This constraint on removal is a

 further reason that the ADR panelists are principal officers. See Edmond, 520 U.S. at


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         Indeed, in light of these restrictions, the parties stipulated that the “Board
 members,” who were “bound by all applicable laws and regulations” of the
 Department and subject to the supervision of the Under Secretary, were not in
 “policy-making positions.” See Appellees’ Br., Pennsylvania, 80 F.3d 796 (No. 94-3692),
 1994 WL 16166965, at *20 (citing 45 C.F.R. § 16.14); Statement of Organization,
 Functions, and Delegations of Authority, 53 Fed. Reg. 38,977-03, 38,977–78 (Oct. 4,
 1988) (providing for the Appeals Board to be “supervised by the Under Secretary”).
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 664 (at-will removal supports inferior officer status).

        The government disagrees, asserting that “the relevant consideration for

 constitutional purposes” is removal “from the Board altogether.” Opp. 20. But the

 government cites no authority for this proposition. And the ADR Rule limits removal

 in the only context in which ADR panelists exercise any authority—their service on

 ADR panels. See PI Mem. 22–23; 42 C.F.R. § 10.20(a)(1)(ii), (2).

        Not to worry, the government says, because the Secretary may “remove an

 individual from a panel” at will. Opp. 21. But that contradicts both the text of the

 ADR Rule and basic principles of officer removal. Any removal power that might be

 “incident to the power of appointment,” id. at 20, belongs to the individual that

 appointed the ADR panelists: the HRSA Administrator, not the Secretary. See 42

 C.F.R. § 10.20(a)(1). And by authorizing one method for removing a panelist—for

 the HRSA Administrator to do so, but only for cause—the ADR Rule reserves no

 residual removal authority in the Secretary. See Travelers Indem. Co. of Ill. v. DiBartolo,

 171 F.3d 168, 171–72 (3d Cir. 1999) (applying expressio unius canon to regulation).

              4.     The Secretary Cannot Cure the Article II Violation.

        The Secretary cannot cure the ADR Rule’s Article II problem by simply acting

 to “eliminate the powers of the [ADR panelists] that are at issue here,” such as by

 deciding claims himself. Pennsylvania, 80 F.3d at 803; Opp. 16, 21. That is not an

 option because Section 340B charges ADR panelists with “finally resolving claims by

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 covered entities.” 42 U.S.C. § 256b(d)(3)(B)(i) (emphasis added). Similarly, the ADR

 Rule requires cases to be decided by three panelists from HHS’s operating divisions,

 with no option for the Secretary to step in. See 42 C.F.R. § 10.20(a)(1)(i). And, unlike

 the special-counsel regulations at issue in In re Grand Jury Investigation, 916 F.3d 1047,

 1052 (D.C. Cir. 2019), see Opp. 18, which were personnel regulations exempt from the

 APA’s notice-and-comment procedures, see 916 F.3d at 1052; 5 U.S.C. § 553(a)(2), the

 ADR Rule cannot be easily withdrawn and replaced. Section 340B requires an ADR

 process, which HHS cannot supply without “comply[ing] with the procedural

 requirements for new agency action.” Dep’t of Homeland Sec. v. Regents of the Univ. of

 Cal., 140 S. Ct. 1891, 1908 (2020).

        Nor would eliminating the ADR Rule’s removal constraints cure the Article II

 violation, given the ADR panelists’ sweeping authority. This approach sufficed in

 Intercollegiate Broadcasting, but there another Executive official could “review[] and

 correct[]” the copyright royalty judges’ decisions. 684 F.3d at 1338–39. Notably, the

 Supreme Court has never said that at-will removal alone is sufficient to classify an

 officer as inferior. Quite the opposite. In Edmond, the Judge Advocate General’s

 authority to remove Coast Guard judges “without cause” did not suffice to make them

 inferior officers, because oversight was “not complete” without the “power to reverse

 decisions.” 520 U.S. at 664. So too with the ADR panelists.

        By insisting that the Secretary can “revise the regulation” to cure the ADR

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 Rule’s Article II problem, Opp. 21, the government also violates basic principles of

 administrative law. The agency itself, not its lawyers later defending its action, must

 provide the justification on which a rule will stand or fall. See SEC v. Chenery Corp.,

 332 U.S. 194, 196 (1947); W.R. Grace & Co. v. EPA, 261 F.3d 330, 338 (3d Cir. 2001).

                                           *****

        In sum, the government offers no case excusing Presidential appointment and

 Senate approval for an officer who is subject neither to Executive supervision or

 review nor to removal at will by a principal officer. This Court should not be the first.

        B.     The ADR Rule Violates Article III of the Constitution.
        Sanofi is also likely to succeed on its claim that the ADR Rule violates Article

 III. The government does not dispute that Article III bars agencies from exercising

 judicial power over disputes concerning private rights. Opp. 25–27. ADR panels do

 just that, resolving “action[s]” for “monetary damages or equitable relief” concerning

 the core private, common-law rights of property and contract. 42 C.F.R. § 10.21(a).

 Article III courts must adjudicate such claims. See Granfinanciera, S.A. v. Nordberg, 492

 U.S. 33, 55–56 (1989); Murray’s Lessee v. Hoboken Land & Improvement Co., 59 U.S. (18

 How.) 272, 284 (1855); see also Billing v. Ravin, Greenberg & Zackin, P.A., 22 F.3d 1242,

 1246 (3d Cir. 1994) (“the right … to recover contract damages … is private”). To try

 to save the ADR Rule under Article III, the government responds that the ADR

 Panels (i) do not exercise judicial power, because they cannot award damages and

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 equitable relief, Opp. 23–25, and (ii) do not adjudicate private rights, id. at 25–30.

 Neither point is correct.

               1.     The ADR Panels Exercise Judicial Power.
        The ADR Rule plainly authorizes ADR panels to exercise powers reserved to

 the judiciary—including the power to award damages and equitable relief. Under the

 ADR Rule, covered entities may initiate “an action for monetary damages or equitable

 relief against a manufacturer” by filing a petition for “damages” or “equitable relief.”

 42 C.F.R. § 10.21(a)–(c). And ADR panels shall “make precedential and binding final

 agency decisions regarding claims filed by covered entities.” Id. § 10.20; see also id.

 § 10.21(b). These “claims” within the ADR panels’ authority are unquestionably

 claims for damages and equitable relief—as another court has recognized. See Am.

 Hosp. Ass’n v. HHS, No. 4:20-cv-08806, 2021 WL 616323, at *3, *6 (N.D. Cal. Feb.

 17, 2021). Indeed, an ADR panel has already been asked to “employ its equitable

 authority” to enter a “preliminary injunction” against Sanofi. PI Mem. Ex. 7.

        The government, however, insists that the ADR panels are powerless to order

 such relief, and that panel decisions are not “self-effectuating,” because the ADR Rule

 directs panels to “‘submit’” their decisions “‘to HRSA for appropriate action

 regarding refunds, penalties, removal, or referral to appropriate Federal authorities.’”

 Opp. 23–24 (quoting 42 C.F.R. § 10.24(e)). The government reads this language to

 mean that an ADR panel can find liability but cannot impose any remedies.

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       But the ADR Rule empowers panels to adjudicate not simply questions of

 liability but rather “action[s] for monetary damages or equitable relief.” 42 C.F.R.

 § 10.21(a) (emphasis added); see id. § 10.21(f); 85 Fed. Reg. at 80,635. Indeed, “[t]he

 ADR Rule repeatedly discusses the availability of equitable relief,” Am. Hosp. Ass’n,

 2021 WL 616323, at *6, and provides that ADR panels will resolve “proceeding[s] for

 damages,” in which the petitioner must “introduce evidence sufficient to support its

 claim for damages,” 42 C.F.R. § 10.21(f). These provisions would make no sense if

 ADR Panels were in fact powerless to award damages or equitable relief.

       Attempting to give these provisions meaning, the government makes the

 puzzling assertion that the ADR Rule authorizes “equitable relief” solely so that a

 panel can “declare specified conduct to be unlawful—the equivalent of a cease-and-

 desist order.” Opp. 24. But the ADR Rule authorizes not “declaratory relief” (as the

 government essentially argues) but “equitable relief” without limitation. 42 C.F.R.

 § 10.20, 10.21(a)–(b) (emphasis added). By definition, “equitable relief” includes

 “injunction[s].” Black’s Law Dictionary (11th ed. 2019); Mertens v. Hewitt Assocs., 508

 U.S. 248, 256 (1993). The ADR Rule also adopts the Federal Rules of Civil

 Procedure, 42 C.F.R. § 10.23(b), which expressly authorize preliminary injunctions

 and restraining orders, Fed. R. Civ. P. 65. Unsurprisingly, the only court to have ruled

 on this question determined that the “equitable relief” “repeatedly discusse[d]” by the

 ADR Rule includes “forward-looking relief” (such as an injunction) and not simply

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 “retrospective remedies” (such as a determination that a manufacturer has violated the

 statute). Am. Hosp. Ass’n, 2021 WL 616323, at *6 (internal quotation marks omitted).2

       Moreover, the ADR Rule does not say that panel decisions are “binding once

 approved by HRSA.” Instead, they are “final agency decision[s],” 42 C.F.R. §§ 10.20,

 10.24(d)—which means they are “the ‘consummation’ of the agency’s decisionmaking

 process” and determine the parties’ “rights or obligations.” Ocean Cnty. Landfill Corp.

 v. EPA, 631 F.3d 652, 655 (3d Cir. 2011) (quotation omitted). ADR Panel decisions

 would not be “final” if a separate remedial phase needed to follow. Cf. Marshak v.

 Treadwell, 240 F.3d 184, 190 (3d Cir. 2001) (“A finding of liability that does not also

 specify damages is not a final decision.”) (citation omitted).

       Instead, under the ADR Rule, HRSA’s role is limited to ordering additional

 remedies: “appropriate action regarding refunds, penalties, removal, or referral to

 appropriate Federal authorities,” such as for civil monetary penalties. 42 C.F.R.

 § 10.24(e); see 85 Fed. Reg. at 80,642. The ADR Rule does not authorize HRSA to

 modify or nullify the binding and precedential final agency decisions already made by

 ADR panels, including decisions to award equitable relief and damages.




       2
          Their remedial powers aside, the ADR panels also exercise other powers
 traditionally assigned to courts—they take evidence, hear testimony, apply the Federal
 Rules, and issue precedential decisions that bind private parties. These powers hardly
 make “no difference,” Opp. 7, 25, but rather illustrate that ADR panels exercise
 Article III authority. See CFTC v. Schor, 478 U.S. 833, 851 (1986).
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        The text of the ADR Rule, then, simply does not line up with what the

 government now argues. Basic administrative law prohibits an agency from salvaging

 a regulation through “post hoc rationalizations” like this. Motor Vehicle Mfrs. Ass’n of

 U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983); see also Regents, 140 S.

 Ct. at 1909 (discounting government’s “convenient litigating position”); Caruso v.

 Blockbuster-Sony Music Ent. Ctr., 193 F.3d 730, 737 (3d Cir. 1999).3

        With all that said, even if the ADR Rule did give HRSA the powers that the

 government’s brief describes, that still would not solve the Article III problem—

 because HRSA is not an Article III court. Splitting judicial power across different

 components of an agency does not make the constitutional defect go away.

               2.     The ADR Panels Adjudicate Disputes Over Private Rights.
        The government also contends that the ADR panels’ powers are appropriate

 under Article III because only public rights are at stake. Not so. Contrary to the

 government’s claims, ADR panels adjudicate core common-law rights that are

 unquestionably private—namely, Sanofi’s rights to hold and alienate the drugs it

 manufactures on terms of its choice. Indeed, the ADR Rule acknowledges that ADR

 panels will adjudicate rights arising out of “complex commercial arrangements

 between private actors.” 85 Fed. Reg. at 80,635. HHS expressly rejected the


        3
          If the ADR Rule truly means what the government now contends, HHS’s
 failure to reasonably and clearly explain the ADR Panel’s powers is arbitrary and
 capricious. See Christ the King Manor, Inc. v. HHS, 730 F.3d 291, 305 (3d Cir. 2013).
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 established method of resolving disputed public rights—Administrative Law Judges

 who “resolve disputes between the Department and private entities involving federal

 funds”—precisely because of the nature of the rights at issue. Id. at 80,634–35. But

 Article III does not permit these rights to be adjudicated by agency bureaucrats.

        The government responds that ADR panels simply answer “questions of

 program compliance,” but without “command[ing] the conveyance of private

 property.” Opp. 23–24, 27. But this again ignores the actual ADR Rule, which

 confers precisely those powers by authorizing panels “to resolve all issues underlying

 any claim or defense.” 85 Fed. Reg. at 80,636 (emphasis added); see also 42 C.F.R.

 § 10.21(b), (c). Under the ADR Rule, panels can therefore decide that an entity is

 covered by the statute (thus requiring manufacturers to offer the entity discounted

 pricing); decide that a manufacturer’s placement of conditions on such sales violates

 “statutory requirements,” Opp. 27 & n.8; and issue “precedential and binding final

 agency decisions” imposing financial and injunctive penalties, 42 C.F.R. § 10.20.

        In other words, ADR panels may order private manufacturers to convey their

 property (in the form of outpatient drugs or money damages) to private covered

 entities at certain prices and subject to certain conditions, notwithstanding the

 property and contract rights that would otherwise govern the parties’ relationships.

 Resolving “the liability of one individual to another under the law as defined” is the

 very definition of private-rights adjudication. Crowell v. Benson, 285 U.S. 22, 51 (1932);

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 accord Oil States Energy Servs. v. Greene’s Energy Grp., 138 S. Ct. 1365, 1378 (2018).

        The government contends—principally on the basis of Thomas v. Union Carbide

 Agricultural Products Co., 473 U.S. 568 (1985)—that there is nonetheless no Article III

 problem because this case involves “new rights” that Congress “create[d]” by statute.

 Opp. 26. But no private rights were at stake in Union Carbide. That case instead

 involved a right to compensation that existed exclusively under the Federal

 Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), for the use of data submitted

 to the EPA by pesticide registrants. Critically, the statute created this right only after

 the registrant had, “[a]s a matter of state law,” “extinguished” its preexisting “property

 rights” and “property interest[s]” by submitting the data. 473 U.S. at 584. Because

 the FIFRA right was created by Congress and did not “replace” any rights “under

 state law,” it was a public right that could be adjudicated outside of an Article III

 court. Id. at 584, 588–89, 594; see Stern v. Marshall, 564 U.S. 462, 491 (2011).

        In invoking the same principle here, the government disregards the Third

 Circuit’s warning that Union Carbide’s holding has “rather limited scope” and “should

 not be read too expansively.” Beard v. Braunstein, 914 F.2d 434, 440 (3d Cir. 1990).

 Unlike with the FIFRA dispute in Union Carbide—and contrary to the government’s

 argument, Opp. 28—covered entities’ entitlement to discounted drugs and

 manufacturers’ participation in federal programs are not the only rights at issue under

 the ADR Rule. Manufacturers’ rights to hold and alienate property are creatures of

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 state common law, not Section 340B. Indeed, Sanofi was selling medications long

 before Congress enacted Section 340B, which merely limited Sanofi’s preexisting

 rights by imposing “ceilings on prices drug manufacturers may charge for medications

 sold to specific health care facilities.” Astra USA, Inc. v. Santa Clara Cnty., 563 U.S.

 110, 113 (2011). And, unlike the compensation right under FIFRA, those preexisting

 rights have not been “extinguished” as “a matter of state law.” Union Carbide, 473

 U.S. at 584. Subjecting them to administrative adjudication would violate Article III.

        Indeed, contrary to the government’s argument, the Supreme Court has

 required Article III courts to adjudicate claims involving private rights even when

 those rights are integral to a regulatory scheme. Opp. 26–27. In Granfinanciera, the

 Supreme Court held that a fraudulent-conveyance claim arising under a federal statute

 required an Article III forum because its resolution would dictate how much one

 private party owed another. 492 U.S. at 34–35. And in Oil States, the Supreme Court

 made clear that patent infringement actions require an Article III forum, even though

 they arise from a federal statutory scheme. 138 S. Ct. at 1379. So too here, while

 ADR claims arise from a “comprehensive regulatory scheme,” Opp. 26, they implicate

 common-law rights—and an Article III court must therefore resolve them.4




        4
         Nor did Astra bless the administrative adjudication of these rights. See Opp.
 25. The Astra Court said nothing about Article III, instead merely observing that
 Section 340B required an ADR process (and thus created no private right of action).
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        Finally, contrary to the government’s bare assertions, id. at 29, Sanofi did not

 “knowingly and voluntarily” consent to the constitutional violation here. Wellness Int’l

 Network, Ltd. v. Sharif, 135 S. Ct. 1932, 1939 (2015). Rather, Sanofi is an “objecting

 defendant forced to litigate involuntarily before a non-Article III court.” Id. at 1947.

 The government cites no case holding that participating in government programs

 signs away the right to an Article III forum. To the contrary, the Supreme Court has

 recognized that individuals lacking realistic alternatives do not “truly consent” even

 when they choose to participate in non-Article III adjudications, much less when they

 participate in wide-ranging government programs like Medicaid and Medicare. Stern,

 564 U.S. at 493; cf. Nat’l Fed. of Indep. Bus v. Sebelius, 567 U.S. 519, 581–82 (2012)

 (noting threatened loss of Medicaid funding “leaves States with no real option but to

 acquiesce in the Medicaid expansion.”). Moreover, while Section 340B might have

 put Sanofi “on notice,” Opp. 29, that HHS would eventually establish a “decision-

 making body,” 42 U.S.C. § 256b(d)(3)(B)(i), the statute gave Sanofi no reason to

 suspect HHS would attempt to give the body powers that Article III reserves to the

 judiciary.

                                                *****

        ADR panels exercise powers—including the power to award damages and

 equitable relief—that the Constitution reserves to Article III courts. And ADR panels

 use these powers to adjudicate disputes that implicate Sanofi’s private, common-law

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 property and contract rights. As a result, the ADR Rule violates Article III.

 II.    Sanofi Will Suffer Irreparable Harm Absent an Injunction.
        Absent an injunction, Sanofi will suffer irreparable harm by being forced to

 submit to an ADR process that violates the Constitution’s structural protections. The

 government ignores the Supreme Court’s instruction that “[t]he structural principles

 secured by the separation of powers protect the individual,” Bond v. United States, 564

 U.S. 211, 222 (2011). That is why “[t]he entitlement to an Article III adjudicator is ‘a

 personal right.’” Wellness Int’l Network, Ltd., 135 S. Ct. at 1944. The Appointments

 Clause, too, “ultimately” protects “individual liberty,” which is why the Third Circuit

 presumes that an individual suffers harm from an Appointments Clause violation.

 Cirko ex rel Cirko v. Comm’r of Soc. Sec., 948 F.3d 148, 155 (3d Cir. 2020). The

 government offers no reason why a violation of these provisions protecting individual

 rights is not irreparable when violations of other individual constitutional rights

 unquestionably inflict irreparable harm. See PI Mem. 27–29. Nor does the

 government dispute that sovereign immunity will prevent Sanofi from recovering

 damages caused by participating in an unconstitutional ADR proceeding. See id. at 31;

 Am. Express Travel Related Servs. Co. v. Sidamon-Eristoff, 755 F. Supp. 2d 556, 614 (D.N.J.

 2010) (Wolfson, J.), aff’d, N.J. Retail Merchs. Ass’n v. Sidamon-Eristoff, 669 F.3d 374, 388

 (3d Cir. 2012).



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 III.   The Equities Favor an Injunction.
        Because the government has no interest defending an unconstitutional

 regulation, the equities favor injunctive relief. See id. at 614–15. Nor would an

 injunction preclude the resolution of 340B Program disputes. Rather, HHS could still

 “handle[] overcharge complaints through informal procedures,” as it has for twenty-

 five years. Astra, 563 U.S. at 116 (citing Manufacturer Audit Guidelines and Dispute

 Resolution Process, 61 Fed. Reg. 65,406, 65,412 (Dec. 12, 1996)).

        And it is the government, not Sanofi, that has upset the status quo. The ADR

 Rule was not in effect when Sanofi announced and implemented its integrity initiative.

 HHS rushed out the ADR Rule only after multiple lawsuits subsequently sought to

 compel the promulgation of ADR procedures. Given that Congress had required

 HHS to implement such procedures by September 2010—a deadline HHS missed by

 over ten years—HHS has only itself to blame for any “disruption of a carefully crafted

 legislative scheme.” Opp. 34. Moreover, during that decade, HHS sparked an

 unregulated explosion in contract pharmacies, accompanied by significant increases in

 illegal duplicate discounting—about which it did nothing. See PI Mem. 5–7. HHS

 cannot now seek to benefit from its delay at the cost of irreparable harm to

 manufacturers like Sanofi.

                                    CONCLUSION
        The Court should grant Sanofi’s motion for a preliminary injunction.

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 Dated: March 8, 2021                Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2021 a copy of the foregoing was filed with

 the Clerk of the Court using the CM/ECF system. I certify that all participants in this

 case are registered CM/ECF users and that service will be accomplished by the

 CM/ECF system.



       March 8, 2021                                  s/ Jennifer L. Del Medico




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